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    12   Co-Lead Class Counsel for the Settlement Class
    13                       UNITED STATES DISTRICT COURT
    14                     CENTRAL DISTRICT OF CALIFORNIA
    15
         GAIL THOMPSON, et al.,                    Case No. 2:18-cv-05422-CAS-GJSx
    16
                            Plaintiffs,            CLASS ACTION
    17
                     vs.
    18                                            PLAINTIFFS’ UNOPPOSED
    19   TRANSAMERICA LIFE                        MOTION FOR LEAVE TO EXCEED
         INSURANCE COMPANY,                       THE PAGE LIMITATION IN
    20                                            LOCAL RULE 11-6 AND
                     Defendant.                   SUPPORTING MEMORANDUM OF
    21
                                                  POINTS AND AUTHORITIES
    22
                                                  Judge:    Hon. Christina A. Snyder
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     1   TO: DEFENDANT AND ITS ATTORNEYS OF RECORD:
     2         Plaintiffs respectfully request leave to exceed the 25-page limitation set forth
     3   in Local Rule 11-6 and seek permission from the Court to file Plaintiffs’ Combined
     4   Reply in Support of Motion for Final Approval of Proposed Nationwide Class
     5   Settlement [Dkt. 154] and Motion for Court Approval of Common Fund Payments
     6   [Dkt. 156], and in Response to Objections [Dkt. 164, 165 and 166] not to exceed
     7   30 pages in length.
     8         This motion is supported by the following memorandum of points and
     9   authorities.
    10                  MEMORANDUM OF POINTS AND AUTHORITIES
    11         Plaintiffs seek leave to exceed the presumptive page limitation set forth in
    12   Local Rule 11-6 in connection with their Combined Reply in Support of Motion
    13   for Final Approval of Proposed Nationwide Class Settlement [Dkt. 154] and
    14   Motion for Court Approval of Common Fund Payments [Dkt. 156], and in
    15   Response to Objections [Dkt. 164, 165 and 166] (“Combined Reply”). Plaintiffs
    16   respectfully submit that this modest page extension is reasonable and necessary to
    17   adequately inform the Court’s consideration and determination of the Plaintiffs’
    18   Motion for Final Approval of Proposed Nationwide Class Settlement [Dkt. 154]
    19   and Motion for Court Approval of Common Fund Payments [Dkt. 156].
    20         The additional pages requested by Plaintiffs are necessary given that
    21   Plaintiffs are submitting a single, combined reply addressing their motion for final
    22   approval, motion for approval of attorneys’ fees and expenses, and responding to
    23   the three objections to the proposed Settlement Agreement. Although Plaintiffs do
    24   not believe the objections to have merit, two of the three objectors have filed
    25   lengthy submissions raising a myriad of issues, including, among others: (1) the
    26   adequacy of notice provided to the Settlement Class; (2) the adequacy of the
    27   proposed Class Representatives and alleged conflicts within the Settlement Class;
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     1   (3) whether this Court has jurisdiction over out-of-state Settlement Class Members;
     2   (4) the adequacy of relief provided under the Settlement; and (5) whether the
     3   requested attorneys’ fees are disportionate to the relief being provided to the
     4   Settlment Class.
     5         Plaintiffs have made every effort to address the issues raised by the Objectors
     6   in a concise fashion. We have concluded that the requested five-page extension
     7   will assist and benefit the Court and provide an adequate record for the Court to
     8   determine the Motion for Final Approval of Proposed Nationwide Class Settlement
     9   [Dkt. 154] and Motion for Court Approval of Common Fund Payments [Dkt. 156].
    10         Plaintiffs have conferred with counsel for Defendant, who confirms that
    11   Defendant does not oppose Plaintiffs’ request to file an oversized Combined Reply.
    12         Based on the foregoing, Plaintiffs respectfully request that they be granted
    13   leave to file their Combined Reply in Support of Motion for Final Approval of
    14   Proposed Nationwide Class Settlement [Dkt. 154] and Motion for Court Approval
    15   of Common Fund Payments [Dkt. 156], and in Response to Objections [Dkt. 164,
    16   165 and 166] not to exceed 30 pages in length.
    17               Respectfully submitted this 13th day of August, 2020.
    18
                                             BONNETT, FAIRBOURN, FRIEDMAN
    19                                       & BALINT, P.C.
    20
    21                                       /s/ Andrew S. Friedman
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